         Case 23-03141 Document 431 Filed in TXSB on 01/06/25 Page 1 of 2
                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                           January 06, 2025
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                 CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                 CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA,         §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                 ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP,         §
AND JETALL/CROIX GP, LLC,           §
                                    §
        Defendants.                 §

              ORDER DENYING EMERGENCY MOTION FOR REMAND

       This matter is before the Court on the Emergency Motion for Remand (ECF No. 430) filed

by defendants Ali Choudhri, Jetall Companies, Inc. and Shahnaz Choudhri. The motion seeks to

have this Court remand the lawsuit styled Ali Choudhri, Shahnaz Choudhri and Jetall Companies,

Inc. v. Osama Abdullatiff and Abdullatif & Company, LLC; Cause No. 2024-83320 in the 55th


1/2
           Case 23-03141 Document 431 Filed in TXSB on 01/06/25 Page 2 of 2




Judicial District Court for Harris County, Texas (the “State Court Suit”) based on equitable remand

pursuant to 28 U.S.C. § 1452. This Court, having considered the pleadings filed, finds that the

Emergency Motion for Remand should be denied.

          Movants state that the State Court Suit was removed to this Court on December 5, 2024.1

However, this adversary is not a removed case. The original complaint was filed on August 1,

2023 (ECF No. 1), a year and a half prior to these allegations. There has been substantial litigation

amongst these parties both in state court and federal court. In fact, the movants argue that these

parties have been litigating for nearly a decade. There are other adversaries in front of this Court,

with many of these same parties, some of which were removed. However, this is not one of them.

          As the case was not removed from state court, the Court finds that 28 U.S.C. § 1452 is

inapplicable.

          THEREFORE, IT IS ORDERED that the Emergency Motion to Remand is denied.

            SIGNED 01/06/2025


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




1
    Emergency Motion to Remand, page 3, ¶8.
2/2
